              THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CIVIL CASE NO. 1:23-cv-00192-MR-WCM


PATRICK ALAN GILCHER,               )
                                    )
                        Plaintiff,  )
                                    )
      vs.                           )
                                    )
RYAN SMITH, in his individual and   )
official capacities, et al.,        )
                                    )
                        Defendants. )
________________________________ )

                  SUPPLEMENTAL PRETRIAL ORDER
                   AND CASE MANAGEMENT PLAN

     IN ACCORDANCE WITH the Local Rules of the Western District of

North Carolina and pursuant to Rule 16 of the Federal Rules of Civil

Procedure, the undersigned enters the following Supplemental Pretrial Order

and Case Management Plan in this matter.

                                      I.

           The Pretrial Order and Case Management Plan previously

           entered in this matter sets forth certain requirements for the

           parties to follow in preparing for and trying a civil case

           before this Court. These requirements are not a mere

           formality but rather are essential to the efficient


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       administration of the trial.       To ensure such efficient

       administration, the Court hereby supplements these

       requirements so as to better elucidate the parties’

       responsibilities and the Court’s expectations. A party’s

       failure to comply with the requirements set forth in the

       Pretrial   Order    and    Case    Management          Plan,   as

       supplemented herein, may subject such party to an

       administrative fine for interfering with the efficient

       administration of the trial.

          II.     DEPOSITIONS TO BE USED AT TRIAL

  A.   Page/line designations for any depositions to be used at

       trial, whether discovery or de bene esse depositions, shall

       be filed no later than fourteen (14) days before the final

       pretrial conference. Objections and counter-designations

       shall be filed no later than seven (7) days before the final

       pretrial conference, and objections to any such counter-

       designations shall be filed no later than two (2) business

       days before the final pretrial conference. Failure to meet

       these deadlines may result in summary exclusion of the


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       designated testimony or the summary denial of the

       objections.

  B.   If the parties are unable to resolve all of the objections to

       the designated deposition testimony, such objections that

       remain will be resolved at the final pretrial conference.

       Thus, a copy of the transcript excerpts necessary for the

       Court to understand such designations and objections

       must be filed with the Court no later than two (2) business

       days before the final pretrial conference.

  C.   If counsel intends to use deposition or trial testimony given

       in another case, such designation must be accompanied

       by a statement as to how counsel contends such testimony

       is admissible in the present action.

  D.   While the parties may present deposition or trial testimony

       by reading such testimony into the record, the use of video

       recording is strongly encouraged.

  E.   If testimony is presented by video, the video must be edited

       so as to exclude any testimony for which an objection has

       been sustained and so that the video can be played for the

       jury without any interruptions.
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  F.      Before the trial begins, counsel shall provide the Court with

          an estimate of the length of any deposition or trial testimony

          to be proffered (e.g., for a video deposition, counsel shall

          provide the playtime length of the edited video; for a

          deposition that will be read, counsel shall provide an

          estimate of the length of time to read the edited transcript

          into the record).

  G.      Any attorney who will appear at trial must attend the final

          pretrial conference, unless such attorney seeks, in writing,

          to be excused from such attendance at least one (1) week

          in advance of the final pretrial conference.

       III.   EXHIBIT LISTS AND EXHIBIT NOTEBOOKS

  A.      Final exhibit lists must be submitted before the trial begins.

          Exhibit lists must follow the format set forth in the Pretrial

          Order and Case Management Plan.

  B.      Exhibit lists must list each exhibit counsel reasonably

          anticipates using at trial, whether offered as substantive or

          illustrative evidence, or whether it is to be used on direct or

          cross-examination or to refresh a witness’s recollection.


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  C.   While exhibit lists should not be under-inclusive, they also

       should not be over-inclusive.        Exhibit lists should not

       include all exhibits that counsel believes may possibly be

       used at trial. If necessary, the parties may supplement their

       exhibit lists at trial with additional exhibits upon a showing

       of good cause and a lack of surprise or unfair prejudice to

       the opponent. Counsel should prepare exhibit lists with a

       few blank spaces at the end to allow for the exhibit lists to

       be amended as the trial progresses; counsel should not file

       amended exhibit lists in the middle of trial.

  D.   The exhibit lists should designate each exhibit individually;

       the use of group exhibits (e.g., designating a series of

       photographs as one exhibit) is discouraged. The parties

       may, however, designate a group of exhibits in such a way

       as to indicate their related nature (e.g., designating a series

       of photographs as Exhibit 1A, Exhibit 1B, Exhibit 1C, etc.).

       “Catch-all” exhibits (e.g., an exhibit designation of “all

       materials provided in discovery”) are not permitted.

  E.   Exhibit notebooks also must be tendered to the Court

       before the beginning of trial. Such notebooks must contain
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       one clean, legible copy of each exhibit on the party’s exhibit

       list. For any exhibits that are added during the trial, a copy

       must be handed up to the Court at or before the time that

       the particular exhibit is offered.

                   IV.    WITNESS LISTS

  A.   Witness lists must be filed no later than noon on the

       business day before jury selection.

  B.   Each witness list must identify all persons who may be

       called to testify at trial. Any person not so named on a

       witness list will not be allowed to testify absent a showing

       of good cause.

  C.   Each witness list must identify those witnesses who will be

       testifying live and those who will be testifying by deposition.

  D.   Each witness list must identify any witness that counsel

       intends to tender as an expert as well as the area of

       expertise of that witness.

  E.   Each witness list must identify all witnesses who will

       appear at trial pursuant to a trial subpoena.




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                     V.     JURY SELECTION

  A.   The Court utilizes a “mandatory strike method” for jury

       selection. Pursuant to this method, the Clerk will call 14

       members of the jury pool into the jury box. The Court will

       then conduct the voir dire of the 14 prospective jurors.

       Each side will then be allowed approximately 20 minutes

       to conduct a voir dire of the 14 prospective jurors. Each

       side will then be given the opportunity to make any motions

       with respect to the jury panel, i.e., challenges for cause.

       Motions to strike for cause will be heard at the bench. If

       any of the prospective jurors are stricken for cause, then

       those members will be replaced with new members of the

       jury pool.

  B.   The Court will then conduct a voir dire of the new members

       of the 14 prospective jurors who have replaced the

       members who were stricken for cause. This will be followed

       by an opportunity for the Plaintiff to likewise voir dire the

       new members, followed by a like opportunity for the

       Defendant.     Counsel     will   ordinarily   be     allowed

       approximately two minutes per new member of the panel
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       for such voir dire. If there are any additional motions to

       strike for cause as to the new members of the panel they

       would be heard in the same manner as before at this time.

  C.   Once all 14 positions are filled with prospective jurors who

       have not been challenged for cause, then the parties will

       exercise their peremptory challenges in the following

       manner. First, the Plaintiff will be called upon to exercise

       one of its peremptory challenges. This will be initiated by

       the Court by saying: “What says the Plaintiff as to the jury

       panel?” After the Plaintiff has excused one juror, then the

       parties will exercise their remaining challenges for each

       side by alternating. In other words, after the Plaintiff has

       stricken one, then the Defendant will strike one, followed

       by the Plaintiff striking another, until the parties have used

       all of their peremptory challenges.

  D.   Once all the peremptory strikes have been used by both

       sides, then there will only be 8 members of the 14

       remaining. All eight will sit as jurors to decide the case.

       There will be no alternates. However, since only six jurors

       are required for a civil trial, if any one or two members of
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       the jury are excused or dismissed after being empaneled,

       then the remaining jurors will decide the case.

  IT IS SO ORDERED.
                   Signed: November 4, 2024




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